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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                      *    CRIMINAL NO. SA-17-CR-381-DAE-1
                                               *
       Plaintiff,                              *
                                               *    UNITED STATES DISTRICT JUDGE
v.                                             *    DAVID ALAN EZRA
                                               *
CARLOS I. URESTI (1); and                      *    MAGISTRATE JUDGE
GARY L. CAIN (2)                               *    HENRY J. BEMPORAD
                                               *
       Defendants.                             *
                                               *


                              ORDER GRANTING
               DEFENDANT CARLOS L. URESTI’S MOTION FOR NEW TRIAL

        On,                     , the Court considered the Defendant Carlos Uresti’s Motion for New
Trial (Docket No. 328), and enters the following findings:

        IT IS HEREBY ORDERED that Defendant’s Motion for a New Trial is GRANTED based on the
findings herein and in the interest of justice.

       SIGNED ON:                              .




                                                       HONORABLE DAVID A. EZRA
                                                       UNITED STATES DISTRICT JUDGE
